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               EXHIBIT B
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                         UNITED STATES DISTRICT COURT

                    FOR THE DISTRICT OF MASSACHUSETTS


 D.V.D, et al.                                 :
                        Plaintiffs,            :
                                               :
 v.                                            : CIVIL NO.: 2:25-cv-10676-BEM
                                               :
 U.S. Department of Homeland                   :
 Security, et al.                              :
                                               :
                        Defendants.            :
                                               :


                           DECLARATION OF BRIAN ORTEGA

           I, Brian Ortega, declare the following under 28 U.S.C. § 1746, and state that

under penalty of perjury the following is true and correct to the best of my knowledge

and belief:

      1.   I am employed by U.S. Department of Homeland Security (DHS), U.S.

           Immigration and Customs Enforcement (ICE), Enforcement and Removal

           Operations (ERO), as the Assistant Field Office Director (AFOD) for the

           ERO Phoenix Field Office. I have held this position since January 2022.

           Included in my official duties as an AFOD in the ERO Phoenix Field Office

           is the responsibility of assisting in and the managing, monitoring, scheduling,

           and executing removal orders for aliens in ICE custody at the Eloy Detention

           Center in Eloy, Arizona.

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     2. I provide this declaration based on information provided to me in my official

          capacity, reasonable inquiry, and information obtained from various records,

          systems, databases, other DHS employees, and information portals

          maintained and relied upon by DHS in the regular course of business.

     3. I am aware of the above captioned litigation. While preparing this

          declaration, I reviewed information contained in the official records and

          databases maintained by ICE regarding the immigration and custody status

          of the named Plaintiff (O.C.G.). I also spoke with the officers who made the

          EARM entries and served O.C.G. the removal paperwork.

     4. On March 25, 2025, I signed a declaration that stated: “On or about February

          21, 2025, prior to O.C.G being removed to Mexico, ERO verbally asked

          O.C.G. if he was afraid of being returned to Mexico. At this time, O.C.G.

          stated he was not afraid of returning to Mexico.” ECF No. 31-1 at ¶ 13.

     5.   This statement was based on ICE’s ENFORCE Alien Removal Module 1            0F




          entries indicating that O.C.G. did not fear return to Mexico. See Ex. 1.

     6.   ERO training dictates that entries made into EARM should be reliable and

          accurate.

     7. On or about May 14, 2025, I became aware that the February 21, 2025,


1
 ICE’s ENFORCE Alien Removal Module (EARM) is a software tool that provides
an integrated and comprehensive view of an alien’s detention and removal status. The
software permits staff to place comments into each alien’s record regarding the status
of their case, any court updates, or other relevant case information.
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       EARM entry may have been erroneous.

    8. I understand that Deportation Officer (DO)                              S    who served the

       removal paperwork to O.C.G. does not recall if he asked O.C.G. if he had a

       fear of being removed to Mexico.

    9. I understand that DO                 Z         who entered the February 21, 2025

       EARM entry assumed that DO                      S            asked O.C.G. if he had a fear

       of being removed to Mexico because that was the practice of DO

       Z      at that time and DO                 Z         believed that was the practice of

       other deportation officers also.

    10. DO           Z     did not confirm with DO                            S     that DO

       S       had, in fact, asked O.C.G. if he had a fear of being removed to Mexico.

    11. I have reminded DO                Z       about the importance of ensuring the

       information entered into EARM is correct and instructed him that he should

       not make entries in EARM that are based on assumption alone.

I declare, under penalty of perjury, that the foregoing is true and correct to the best

of my knowledge, information, and belief, as of the time of signature.


Executed this 17th day of July, 2025.

                                                      Digitally signed by BRIAN A
                           BRIAN A ORTEGA ORTEGA
                          _____________________________________________
                                          Date: 2025.07.17 15:15:32 -07'00'


                           Brian Ortega
                           Assistant Field Office Director
                           Enforcement and Removal Operations
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                  U.S. Immigration and Customs Enforcement
                  U.S. Department of Homeland Security




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